IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA )
Vv. ) 1:22CR8-1

)

JARRETT HOBBS )

ORDER

On September 12, 2022, United States Probation Officer F.J. Carney petitioned the
Court for a Warrant or Sammons for Offender under Supervision alleging Defendant Jarrett
Hobbs (“Defendant”) violated several conditions of supervision by committing local, state or
federal crimes, unlawfully possessing and using a controlled substance, and leaving the judicial
district without the permission of the Court or probation officer. The case thereafter came
before the Court for a heating on a motion for detention and preliminaty revocation on
whether probable cause exists to believe that the violations occurred as alleged in the petition.

Based upon the evidence presented at the hearing, the Court finds probable cause to
believe that Defendant violated the terms of his supervised release. At the heating, Officer
Carney testified as to Defendant’s violations. As to the first violation, Officer Carney testified
that Defendant was arrested by the Camden County Sheriffs Office (“CCSO”), neat the
Florida line in Camden County, Georgia, for Misdemeanor Speeding, Misdemeanor Driving
While License Suspended or Revoked, and Felony Possession of a Schedule I Controlled

Substance.

Case 1:22-cr-O0008-CCE Document 19 Filed 10/20/22 Page 1 of 6

 

 
As to the second violation, which occurred on the same day as the fitst violation,
September 3, 2022, Officer Catney testified that Defendant was arrested by the CCSO for
Misdemeanot Battery, Misdemeanor Simple Battery on a Peace Officer, Misdemeanor Simple
Assault, Felony Aggtavated Battery, Felony Obstruction of an Officer, Misdemeanor
Obsttuction of an Officer, a second Felony Obstruction of an Officer, and a second
Misdemeanor Obstruction of an Officer. According to Officer Carney, while Defendant was
in custody at the CCSO complex in Woodbine, Georgia, jailers heard a large banging from
Defendant’s holding cell. Defendant was reportedly kicking his cell door and was told by
jailers to stop after already being warned to stop previously. Officer Carney testified that
Defendant apparently continued this kicking, resulting in the jailers approaching him, giving
him verbal commands, and putting his hands behind his back. However, Defendant allegedly
did not comply and responded to the jailers saying “I ain’t doing shit.” After the jailers
teportedly continued to give him orders and approached him, Defendant tensed up, pulled
away, and a physical altercation between Defendant and the jailets ensued. According to
Officer Carney, Defendant resisted the jailers, and subsequently punched one deputy in the
face while punching another deputy in the side of the head. One deputy sustained a bruised
eye and a broken hand as a result of the incident. Officer Carney did note that the report
teflected that Defendant was struck in the head by one of the correctional officers, although
Officer Carney is unawate of the exact sequence of events.

As to the third violation, Officer Carney testified that Defendant tested positive for

matijuana on thtee occasions between January 25, 2022 and July 27, 2022. Also on December

Case 1:22-cr-O0008-CCE Document 19 Filed 10/20/22 Page 2 of 6
8, 2021, Defendant admitted to using marijuana a fourth time, however, there was no test
taken.

Finally, as to the fourth violation, Officer Carney testified that Defendant traveled
outside the judicial district to Georgia, without obtaining permission from the Court or
probation officer, on September 3, 2022. The probation officer found out about Defendant’s
travel to Georgia after Defendant’s arrest.

Additionally, Officer Carney further testified about Defendant’s general adjustments
to supetvision. Defendant migtated to the Middle District of North Carolina with the support
of his girlfriend, Carla Bostic. Defendant made several goals and worked towards reaching
those goals including sustaining gainful employment at UPS. Defendant’s relationship with
Ms. Bostic begin to deteriorate in January 2022 and continued to decline over the next several
months. In May 2022, Ms. Bostic provided a video to Officer Carney which depicted a dispute
between her and Defendant in which Defendant physically damaged a vehicle belonging to
Ms. Bostic. By June 2022, Defendant was no longer living in the residence with Ms. Bostic.
Defendant later shared with Officer Carney that he had not disclosed everything about his
former life with Ms. Bostic and that those issues were now resurfacing in Greensboro. At the
time, Defendant believed his life was in danger and he did not want to endanger Ms. Bostic
ot her daughter. In August 2022, Defendant was involved in another incident in which he
attived at Ms. Bostic’s residence while she was not present although her daughter was there.

Officer Carney further testified that Defendant suffers from mental health issues,

including being diagnosed with unspecified trauma, stress-related disorder, anxiety disorder,

Case 1:22-cr-O0008-CCE Document 19 Filed 10/20/22 Page 3 of 6
and moderate cannabis-use disorder. Officer Carney noted that Defendant has been
ptescribed medication for these issues. Office Carney testified that the deterioration of
Defendant’s mental health correlated with the death of two individuals close to him in Florida
(one of which was a cousin) and that Defendant subsequently indicated to Officer Carney that
he used matijuana to cope with the loss. Defendant voluntarily enrolled in treatment services
with a community provider, but later transferred to another provider after expressing concern
about the level of cate he was receiving. Although acknowledging that Defendant complied
with his substance-abuse treatment and noting his previous employment with UPS, Office
Catney nonetheless recommended that Defendant be detained. Although Ms. Bostic supports
Defendant, Officer Carney does not believe that she is able to control Defendant.

Based upon the evidence presented at the hearing, the Court finds that there is probable
cause to believe that Defendant has violated the terms of his release. A probable cause finding
fot a supetvised release violator is constitutionally sufficient to warrant the releasee’s
continued detention pending the final revocation hearing in the matter. See Morrissey v. Brewer,
408 U.S. 471, 487 (1972) (holding that a finding of probable cause is sufficient ground for
continued detention of a patole violator); Gagnon v. Scarpelli, 411 U.S. 778, 782 (1973) (holding
that “a probationer, like a parolee, is entitled to a preliminary and a final revocation hearing,
under the conditions specified in [Morrissey|”),; United States v. Copley, 978 F.2d 829, 831 (4th
Cir. 1992) (applying Morrissey and Gagnon protections to revocations of supervised release); see
also Fed. R. Crim. P. 32.1.

Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6), a determination to release

Case 1:22-cr-O0008-CCE Document 19 Filed 10/20/22 Page 4 of 6

 
ot detain a supetvised release violator pending further proceedings is in accordance with 18
U.S.C. § 3143(a)(1). This section provides that the Court shall detain the supervised release
violator unless the Court “finds by clear and convincing evidence that the person is not likely
to flee or pose a danger to the safety of any other petson or to the community if released...
” 18 U.S.C. § 3143(a)(1). “The burden of establishing by clear and convincing evidence that
the person will not flee or pose a danger to any other person or to the community rests with
the person.” Fed. R. Crim. P. 32.1(a)(6).

Defendant proffered Ms. Bostic, as a potential third-party custodian. Ms. Bostic works
as a social worker for Child Protective Services and has regular work hours. Ms. Bostic
testified that she would report Defendant if he violated any conditions of his release. Ms.
Bostic states that Defendant’s behavior has improved since he has been on medication. Ms.
Bostic also testified that she would not permit Defendant to use controlled substances in her
home. Defense counsel presented the Court with a letter from UPS, however, despite the
letter noting Defendant’s great leadership qualities and integrity, it did not ensure Defendant’s
continued employment upon telease.

Having considered the information presented, the Court finds that there is clear and
convincing evidence that no condition or combination of presently-available conditions will
reasonably assure that Defendant will not pose a danger to the community. Defendant’s
conduct under the instant offenses demonstrates his inability to comply with the rules of this
Court. Defendant does not appeat to have current employment, and the proffered third-party

custodian is not suitable under the circumstances. Ultimately Defendant has not met his

Case 1:22-cr-O0008-CCE Document 19 Filed 10/20/22 Page 5 of 6
burden in this matter.
IT IS THEREFORE ORDERED that the Motion for Detention by the United States

is GRANTED and Defendant shall be held in custody until the final revocation hearing in

Op bbato=

V Joe L. Webster
United States Magistrate Judge

this matter.

This, the 20th day of October, 2022.

Case 1:22-cr-O0008-CCE Document 19 Filed 10/20/22 Page 6 of 6
